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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                            Case Nos.    3:07cr58/MCR/CJK
                                                           3:11cv457/MCR/CJK
ANTHONY ALEXANDER
BRIDGEWATER
_____________________________/


                       REPORT AND RECOMMENDATION

        This matter is before the court upon Defendant’s motion to vacate, set aside,
or correct sentence pursuant to 28 U.S.C. § 2255 and supporting memorandum of law
(doc. 305, 306). The Government has filed a response (doc. 322) and Defendant has
filed a reply (doc. 328). The case was referred to the undersigned for the issuance of
all preliminary orders and any recommendations to the district court regarding
dispositive matters. See N.D. Fla. Loc. R. 72.2; see also 28 U.S.C. § 636(b) and Fed.
R. Civ. P. 72(b). After a careful review of the record and the arguments presented,
it is the opinion of the undersigned that Defendant has not raised any issue requiring
an evidentiary hearing and that the § 2255 motion should be denied. See Rules
Governing Section 2255 Cases 8(a) and (b).
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                                 PROCEDURAL BACKGROUND1
         Defendant was charged in a four count superseding indictment with conspiracy
to distribute and possess with intent to distribute five kilograms of cocaine and one
thousand kilograms of marijuana (“Count One”), possession with intent to distribute
five kilograms of cocaine on a date certain (“Count Two”); possession with intent to
distribute one hundred kilograms of marijuana on the same date (“Count Three”) and
possession of a firearm by a convicted felon (“Count Four”) (doc. 34). The
Government filed a Notice of Enhancement indicating its intent to seek enhanced
penalties against Defendant due to his two prior felony controlled substance
convictions (doc. 42).
         Defendant was represented by retained counsel Barry Beroset, Esq.2 The
defense moved to suppress evidence seized from Defendant’s residence, arguing that
(1) law enforcement did not have a reasonable belief that Defendant was in the
residence at the time and, although in possession of an arrest warrant, should not have
entered without a search warrant; and (2) Defendant’s subsequent consent to search
of his residence was invalid (doc. 61). The motion was denied after a hearing (docs.
72, 73, 174). Defendant proceeded to trial and after a three day trial, the jury
convicted him on all counts (docs. 94–96, 100, 105). The court denied Defendant’s
motions for a new trial and for a judgment of acquittal (docs. 111, 112, 114, 115).
         The Presentence Investigation Report (“PSR”) was disclosed to the defense on
September 24, 2007 (doc. 122). The report grouped all four offenses for sentencing.


         1
         The factual background of the case is set forth in Defendant’s PSR and the Eleventh Circuit’s opinion on appeal
(doc. 196), and will be set forth herein only as necessary.

         2
         Attorney Thomas Ford filed a notice of appearance as co-counsel prior to trial (doc. 89). For simplicity’s sake,
counsel will be referred to in the singular throughout this Report.

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Defendant was held accountable for 1,726 kilograms of marijuana, which equated to
a base offense level of 32 (PSR ¶ 50). A two level adjustment applied due to the
possession of a dangerous weapon (PSR ¶ 51). Defendant’s adjusted offense level
was 34, but due to the application of the career offender enhancement,3 his total
offense level became 37 (PSR ¶¶ 55–59). Defendant had a criminal history category
of VI (PSR ¶ 81). The applicable advisory guidelines range was 360 months to life,
although a statutory maximum of 120 months applied to Count Four (PSR ¶¶ 112).
The Government objected to the probation officer’s determination that two of
Defendant’s prior controlled substance convictions were related, and argued that with
two prior drug convictions, Defendant was subject to a mandatory term of life
imprisonment (PSR ¶¶ 63, 64, 133).
         At sentencing, the court sustained the Government’s position regarding the two
prior controlled substance convictions, finding them to be separate criminal acts (doc.
176 at 15–16). The statutory mandatory sentence applied, and the court sentenced
Defendant to a term of life imprisonment on Counts One and Two, and terms of 438
months and 120 months respectively on Counts Three and Four (id. at 17, 20; see also
doc. 143). The court expressly stated that if it was incorrect in its finding regarding
the two prior convictions and the application of the mandatory minimum sentence,
it would have sentenced Defendant to a term of 438 months on Counts One, Two and
Three, and 120 months on Count Four (doc. 176 at 19).
         Defendant appealed the denial of his motion to suppress and the imposition of
the mandatory life sentence (doc. 196 at 2–3). The Eleventh Circuit found no error


         3
        A prior conviction for battery and a prior controlled substance offense supported application of this
enhancement (PSR ¶¶ 58, 62, 63).

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in the district court’s ruling on Defendant’s motion to suppress and affirmed his
convictions (id. at 7). It found, however, that the Government had not met its burden
of establishing that Defendant had two prior and separate convictions that would
support application of the life sentence. Therefore, it vacated and remanded
Defendant’s sentence (id.. at 11).
         Upon remand, the district court conducted a hearing and heard testimony and
evidence (docs. 198, 243, 244). The court found that Defendant’s two prior
convictions, despite having occurred approximately 42 minutes apart and having
involved the same individuals, were separate criminal acts that were properly
considered two separate convictions for the purposes of § 851 (doc. 243 at 9–10). It
resentenced Defendant to the same sentence previously imposed (doc. 203; doc. 243
at 13). Defendant appealed, and the amended judgment was affirmed (doc. 277).
         In the present motion, Defendant claims that counsel was constitutionally
ineffective, separating his claims into four grounds for relief. The Government
opposes the motion in its entirety.
                                            LEGAL ANALYSIS
         General Standard of Review
         Collateral review is not a substitute for direct appeal, and therefore the grounds
for collateral attack on final judgments pursuant to § 2255 are extremely limited. A
prisoner is entitled to relief under section 2255 if the court imposed a sentence that
(1) violated the Constitution or laws of the United States, (2) exceeded its
jurisdiction, (3) exceeded the maximum authorized by law, or (4) is otherwise subject
to collateral attack. See 28 U.S.C. § 2255(a); McKay v. United States, 657 F.3d 1190,
1194 n.8 (11th Cir. 2011). “Relief under 28 U.S.C. § 2255 ‘is reserved for


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transgressions of constitutional rights and for that narrow compass of other injury that
could not have been raised in direct appeal and would, if condoned, result in a
complete miscarriage of justice.’” Lynn v. United States, 365 F.3d 1225, 1232 (11th
Cir. 2004) (citations omitted). The “fundamental miscarriage of justice” exception
recognized in Murray v. Carrier, 477 U.S. 478, 496 (1986), provides that it must be
shown that the alleged constitutional violation “has probably resulted in the
conviction of one who is actually innocent . . . .”
         The law is well established that a district court need not reconsider issues
raised in a section 2255 motion which have been resolved on direct appeal. Rozier
v. United States, 701 F.3d 681, 684 (11th Cir. 2012); United States v. Nyhuis, 211
F.3d 1340, 1343 (11th Cir. 2000); Mills v. United States, 36 F.3d 1052, 1056 (11th
Cir. 1994). Once a matter has been decided adversely to a defendant on direct appeal,
it cannot be re-litigated in a collateral attack under section 2255. Nyhuis, 211 F.3d
at 1343 (quotation omitted). Broad discretion is afforded to a court’s determination
of whether a particular claim has been previously raised. Sanders v. United States,
373 U.S. 1, 16 (1963) (“identical grounds may often be proved by different factual
allegations . . . or supported by different legal arguments . . . or couched in different
language . . . or vary in immaterial respects”).
         Furthermore, a motion to vacate under section 2255 is not a substitute for direct
appeal, and issues which could have been raised on direct appeal are generally not
actionable in a section 2255 motion and will be considered procedurally barred.
Lynn, 365 F.3d at 1234–35; Bousley v. United States, 523 U.S. 614, 621 (1998);
McKay v. United States, 657 F.3d 1190, 1195 (11th Cir. 2011). An issue is
“‘available’ on direct appeal when its merits can be reviewed without further factual


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development.” Lynn, 365 F.3d at 1232 n. 14 (quoting Mills, 36 F.3d at 1055).
Absent a showing that the ground of error was unavailable on direct appeal, a court
may not consider the ground in a section 2255 motion unless the defendant
establishes (1) cause for not raising the ground on direct appeal, and (2) actual
prejudice resulting from the alleged error, that is, alternatively, that he is “actually
innocent.” Lynn, 365 F.3d at 1234; Bousley, 523 U.S. at 622 (citations omitted). To
show cause for procedural default, a defendant must show that “some objective factor
external to the defense prevented [him] or his counsel from raising his claims on
direct appeal and that this factor cannot be fairly attributable to [defendant’s] own
conduct.” Lynn, 365 F.3d at 1235. A meritorious claim of ineffective assistance of
counsel can constitute cause. See Nyhuis, 211 F.3d at 1344.
         Ineffective assistance of counsel claims are generally not cognizable on direct
appeal and are properly raised by a § 2255 motion regardless of whether they could
have been brought on direct appeal. Massaro v. United States, 538 U.S. 500, 503
(2003); see also United States v. Patterson, 595 F.3d, 1324, 1328 (11th Cir. 2010).
In order to prevail on a constitutional claim of ineffective assistance of counsel, a
defendant must demonstrate both that counsel’s performance was below an objective
and reasonable professional norm and that he was prejudiced by this inadequacy.
Strickland v. Washington, 466 U.S. 668, 686 (1984); Williams v. Taylor, 529 U.S.
362, 390 (2000); Darden v. United States, 708 F.3d 1225, 1228 (11th Cir. 2013). In
applying Strickland, the court may dispose of an ineffective assistance claim if a
defendant fails to carry his burden on either of the two prongs. Strickland, 466 U.S.
at 697; Brown v. United States, 720 F.3d 1316, 1326 (11th Cir. 2013).



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         In determining whether counsel’s conduct was deficient, this court must, with
much deference, consider “whether counsel’s assistance was reasonable considering
all the circumstances.” Strickland, 466 U.S. at 688; see also Dingle v. Sec’y for Dep’t
of Corr., 480 F.3d 1092, 1099 (11th Cir. 2007). Reviewing courts are to review
counsel’s performance in a highly deferential manner and “must indulge a strong
presumption that counsel’s conduct fell within the wide range of reasonable
professional assistance.” Hammond v. Hall, 586 F.3d 1289, 1324 (11th Cir. 2009)
(quoting Strickland, 466 U.S. at 689); see also Chandler v. United States, 218 F.3d
1305, 1315–16 (11th Cir. 2000) (discussing presumption of reasonableness of
counsel’s conduct); Lancaster v. Newsome, 880 F.2d 362, 375 (11th Cir. 1989)
(emphasizing that petitioner was “not entitled to error-free representation”).
Counsel’s performance must be evaluated with a high degree of deference and
without the distorting effects of hindsight. Strickland, 466 U.S. at 689. To show
counsel’s performance was unreasonable, a defendant must establish that “no
competent counsel would have taken the action that his counsel did take.” Gordon
v. United States, 518 F.3d 1291, 1301 (11th Cir. 2008) (citations omitted); Chandler,
218 F.3d at 1315. When examining the performance of an experienced trial counsel,
the presumption that counsel’s conduct was reasonable is even stronger, because
“[e]xperience is due some respect.” Chandler, 218 F.3d at 1316 n.18.
         With regard to the prejudice requirement, defendant must establish that, but for
counsel’s deficient performance, the outcome of the proceeding would have been
different. Strickland, 466 U.S. at 694. For the court to focus merely on “outcome
determination,” however, is insufficient; “[t]o set aside a conviction or sentence
solely because the outcome would have been different but for counsel’s error may


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grant the defendant a windfall to which the law does not entitle him.” Lockhart v.
Fretwell, 506 U.S. 364, 369–70 (1993); Allen v. Sec’y, Fla. Dep’t of Corr., 611 F.3d
740, 754 (11th Cir. 2010). A defendant therefore must establish “that counsel’s errors
were so serious as to deprive the defendant of a fair trial, a trial whose result is
reliable.” Lockhart, 506 U.S. at 369 (quoting Strickland, 466 U.S. at 687). Or in the
case of alleged sentencing errors, a defendant must demonstrate that there is a
reasonable probability that, but for counsel’s errors, the result of the proceeding
would have been less harsh due to a reduction in the defendant’s offense level.
Glover v. United States, 531 U.S. 198, 203–04 (2001). A significant increase in
sentence is not required to establish prejudice, as “any amount of actual jail time has
Sixth Amendment significance.” Id. at 203.
         To establish ineffective assistance, Defendant must provide factual support for
his contentions regarding counsel’s performance. Smith v. White, 815 F.2d 1401,
1406–07 (11th Cir. 1987). Bare, conclusory allegations of ineffective assistance are
insufficient to satisfy the Strickland test. See Boyd v. Comm’r, Ala. Dep’t of Corr.,
697 F.3d 1320, 1333–34 (11th Cir. 2012); Garcia v. United States, 456 F. App’x 804,
807 (11th Cir. 2012) (citing Yeck v. Goodwin, 985 F.2d 538, 542 (11th Cir. 1993));
Stano v. Dugger, 901 F.2d 898, 899 (11th Cir. 1990) (citing Blackledge v. Allison,
431 U.S. 63, 74 (1977)).
         It is also well-established that counsel is not ineffective for failing to preserve
or argue a meritless claim. Freeman v. Attorney General, Florida, 536 F.3d 1225,
1233 (11th Cir. 2008); see also Sneed v. Florida Dep’t of Corrections, 496 F. App’x
20, 27 (11th Cir. 2012) (failure to preserve meritless Batson claim not ineffective
assistance of counsel); Lattimore v. United States, 345 F. App’x 506, 508 (11th Cir.


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2009) (counsel not ineffective for failing to make a meritless objection to an
obstruction enhancement); Brownlee v. Haley, 306 F.3d 1043, 1066 (11th Cir. 2002)
(counsel was not ineffective for failing to raise issues clearly lacking in merit);
Chandler v. Moore, 240 F.3d 907, 917 (11th Cir. 2001) (counsel not ineffective for
failing to object to “innocuous” statements by prosecutor, or accurate statements by
prosecutor about effect of potential sentence); Meeks v. Moore, 216 F.3d 951, 961
(11th Cir. 2000) (counsel not ineffective for failing to make meritless motion for
change of venue); Jackson v. Herring, 42 F.3d 1350, 1359 (11th Cir. 1995) (counsel
need not pursue constitutional claims which he reasonably believes to be of
questionable merit); United States v. Winfield, 960 F.2d 970, 974 (11th Cir. 1992) (no
ineffective assistance of counsel for failing to preserve or argue meritless issue);
Lancaster v. Newsome, 880 F.2d 362, 375 (11th Cir. 1989) (counsel was not
ineffective for informed tactical decision not to make what he believed was a
meritless motion challenging juror selection procedures where such a motion has
never been sustained because such a motion would not have been successful).
         The Eleventh Circuit has recognized that given the principles and presumptions
set forth above, “the cases in which habeas petitioners can properly prevail . . . are
few and far between.” Chandler, 218 F.3d at 1313. This is because the test is not
what the best lawyers would have done or even what most good lawyers would have
done, but rather whether some reasonable lawyer could have acted in the
circumstances as defense counsel acted. Dingle, 480 F.3d at 1099; Williamson v.
Moore, 221 F.3d 1177, 1180 (11th Cir. 2000). “Even if counsel’s decision appears
to have been unwise in retrospect, the decision will be held to have been ineffective
assistance only if it was ‘so patently unreasonable that no competent attorney would


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have chosen it.’” Dingle, 480 F.3d at 1099 (quoting Adams v. Wainwright, 709 F.2d
1443, 1445 (11th Cir. 1983)). The Sixth Circuit has framed the question as not
whether counsel was inadequate, but rather whether counsel’s performance was so
manifestly ineffective that “defeat was snatched from the hands of probable victory.”
United States v. Morrow, 977 F.2d 222, 229 (6th Cir. 1992).
         Although section 2255 mandates that the court conduct an evidentiary hearing
“unless the motion and files and records conclusively show that the prisoner is
entitled to no relief,” a defendant must support his allegations with at least a proffer
of some credible supporting evidence. See Chandler v. McDonough, 471 F.3d 1360,
1363 (11th Cir. 2006) (citing Drew v. Dep’t of Corr., 297 F.3d 1278, 1293 (11th Cir.
2002) (referring to “our clear precedent establishing that such allegations are not
enough to warrant an evidentiary hearing in the absence of any specific factual proffer
or evidentiary support”); Hill v. Moore, 175 F.3d 915, 922 (11th Cir. 1999) (“To be
entitled to an evidentiary hearing on this matter [an ineffective assistance of counsel
claim], petitioner must proffer evidence that, if true, would entitle him to relief.”));
Ferguson v. United States, 699 F.2d 1071, 1072 (11th Cir. 1983). A hearing is not
required on frivolous claims, conclusory allegations unsupported by specifics, or
contentions that are wholly unsupported by the record. Peoples v. Campbell, 377
F.3d 1208, 1237 (11th Cir. 2004); Tejada, 941 F.2d at 1559; Holmes v. United States,
876 F.2d 1545, 1553 (11th Cir. 1989) (citations omitted). Likewise, affidavits that
amount to nothing more than conclusory allegations do not warrant a hearing. Lynn,
365 F.3d at 1239.




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         Ground One
         Defendant first asserts that counsel was constitutionally ineffective because he
should have argued that Defendant’s two prior state drug convictions should have
been counted as a single conviction for sentencing purposes. In support of his
argument, Defendant notes that there was no intervening arrest and the convictions
were consolidated for state court sentencing purposes (citing U.S.S.G. § 4A1.2(a)(2)).
Defendant’s position is correct, insofar as it refers to criminal history calculations
under the Sentencing Guidelines, but there was no error in this respect. The PSR
reflects that Defendant was assessed criminal history points for only one of the two
convictions at issue (see PSR ¶¶ 63, 64). The undersigned also notes that even if
there had been an error in the guidelines calculation of Defendant’s criminal history,
it was the statutory mandatory sentence, not the Sentencing Guidelines, that dictated
Defendant’s sentence in this case.
         To the extent Defendant argues that section § 4A1.2, or any other section of the
Guidelines controls the application of 21 U.S.C. § 851, he is mistaken. The issue of
whether the two state convictions in question were one or two convictions for
purposes of the § 851 enhancement was well-litigated upon remand (see docs. 243,
244). No intervening arrest was required for the two convictions to be used as the
basis for a § 851 sentence enhancement.                         Defendant’s attorney was not
constitutionally ineffective for failing to make this argument. Freeman, 536 F.3d at
1233; Brownlee v. Haley, 306 F.3d at1066.
         Ground Two
         Defendant next argues that counsel was constitutionally ineffective for not
investigating the applicability of Amendment 709 to Defendant’s case. Amendment


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709 clarified how prior sentences and offenses are used to determine a defendant’s
criminal history score. As noted previously, Defendant’s life sentence was dictated
by statute. Therefore, guidelines amendments clarifying or changing the manner in
which criminal history is calculated would not have impacted his sentence. Counsel
was not constitutionally ineffective for his failure to investigate or make an argument
based on this amendment. See Freeman, 536 F.3d at 1233; Lattimore, 345 F. App’x
at 508; Brownlee v. Haley, 306 F.3d at1066.
         Ground Three
         Defendant claims that counsel was constitutionally ineffective because he
failed to investigate whether Defendant had been read his Miranda rights prior to
being arrested. Defendant appears to suggest that counsel should have moved to
suppress any pre-Miranda statements Defendant made to law enforcement. Defendant
is correct to the extent he argues that statements made during a custodial interrogation
by a suspect who has not received Miranda warnings are generally inadmissible. See
United States v. Woods, 684 F.3d 1045, 1055 (11th Cir. 2012) (citing Miranda v.
Arizona, 384 U.S. 436, 479 (1966)). Nevertheless, even without counsel having made
such a motion, the Government stated that it did not intend to offer into evidence any
pre-Miranda statements (doc. 174 at 50), and Defendant has not established that it did
so.
         Defendant’s suggestion that the timing of law enforcement’s recitation of his
Miranda rights affected his consent to the search of his residence appears to be an
attempt to relitigate the district court’s denial of the motion to suppress. Even if he
were allowed to do so, failure to provide Miranda warnings does not invalidate
consent to search. See United States v. Vasquez, 406 F. App’x 430, 432 (11th Cir.


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2010) (citing United States v. Garcia, 496 F.2d 670, 674 (5th Cir. 1974)); United
States v. Stevens, 487 F.3d 232, 242 (5th Cir. 2007); United States v. Hidalgo, 7 F.3d
1566, 1568 (11th Cir. 1993) (consent to search is not an incriminating statement
subject to Miranda). Furthermore, the undersigned notes that uncontroverted
testimony at the suppression hearing established that Defendant gave verbal consent
to the search both before and after law enforcement read him his Miranda warnings,
and that he signed the written consent form after he was read his rights (doc. 174 at
40–41, 45).          Finally, the district court’s finding that the officers’ entry into
Defendant’s home was lawful and that Defendant’s consent was voluntary (see doc.
174 at 53–55) upheld scrutiny on appeal (doc. 196). Counsel was not constitutionally
ineffective for failure to raising a Miranda argument.
         Ground Four
         Defendant’s fourth ground for relief, as clarified in his traverse (see doc. 328
at 4), is that neither the court nor the Government strictly complied with the
requirements of 21 U.S.C. § 851, and counsel was constitutionally ineffective because
he failed to object.             The notice of enhancement referenced increased penalty
provisions under 21 U.S.C. § 841(a)(1) and (b)(1)(A)(vii) (doc. 42). The sufficiency
of the Government’s notice was addressed on appeal (doc. 277 at 7–8), and may not
be re-litigated herein. Rozier, 701 F.3d at 684; Nyhuis, 211 F.3d at1343. In any
event, the Eleventh Circuit found the notice legally sufficient; Defendant cannot now
show prejudice for counsel’s failure to object to the adequacy of the notice before the
district court.
         Defendant also references the fact that, at his initial sentencing, the court did
not inquire if Defendant affirmed his prior convictions until after sentence was


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imposed (doc. 176 at 21–22). Defendant’s initial sentence, at which the alleged error
occurred, was vacated and remanded. Regardless, Defendant cannot show prejudice,
because he has never denied the validity of the two convictions at issue. Defendant
is not entitled to relief on this ground.
         Conclusion
         For all of the foregoing reasons, the court finds that Defendant has not
established that any of the claims raised in his motion to vacate, set aside, or correct
sentence pursuant to 28 U.S.C. § 2255 have merit. Nor has he shown that an
evidentiary hearing is warranted. Therefore Defendant’s motion should be denied in
its entirety.
                                     Certificate of Appealability
         Section 2255 Rule 11(a) provides that “[t]he district court must issue or deny
a certificate of appealability when it enters a final order adverse to the applicant,” and
if a certificate is issued “the court must state the specific issue or issues that satisfy
the showing required by 28 U.S.C. § 2253(c)(2).” A timely notice of appeal must still
be filed, even if the court issues a certificate of appealability. § 2255 11(b).
         After review of the record, the court finds no substantial showing of the denial
of a constitutional right. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 483–84
(2000) (explaining how to satisfy this showing) (citation omitted). Therefore, it is
also recommended that the court deny a certificate of appealability in its final order.
         The second sentence of Rule 11(a) provides: “Before entering the final order,
the court may direct the parties to submit arguments on whether a certificate should
issue.” If there is an objection to this recommendation by either party, that party may



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bring this argument to the attention of the district judge in the objections permitted
to this report and recommendation.
         Based on the foregoing, it is respectfully RECOMMENDED:
         1. The motion to vacate, set aside, or correct sentence (doc. 305) be DENIED.
         2. A certificate of appealability be DENIED.
         At Pensacola, Florida, this 24th day of April, 2014.




                                                    /s/   Charles J. Kahn, Jr.
                                                    CHARLES J. KAHN, JR.
                                                    UNITED STATES MAGISTRATE JUDGE



                                     NOTICE TO THE PARTIES

      Any objections to these proposed findings and recommendations must be
filed within fourteen days after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon all other
parties. Failure to object may limit the scope of appellate review of factual
findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d 698, 701 (11th
Cir. 1988).




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